Case 2:05-cr-20109-STA Document 28 Filed 08/30/05 Page 1 of 2 Page|D 35

 

IN THE UNITED sTATEs DISTRICT COURT F"-ED BY .. D.c.
FOR THE WESTERN DISTRICT oF TENNESSEO\¢;$
WESTERN DIVISION AUG 30 in | l
¢WWKS M.
f r','r\ '
UNITED sTATEs oF AMERICA, CL‘“§§§ U"§ _-;~:":»`{5.’”;".97 COUT
Plaintiff,
*
v. Criminal No. 05-20109-Ml
*
ANTONIo KENNEDY, *
Defendant. *

 

ORDER TO DISMISS SUPPRESSION HEARING

 

It is hereby ORDERED that the Motion to Dismiss Suppression Hea.ring is hereby

GRANTED.

IT ls so 0RDEREI) this the <.30 day of QMBMT ,2005.

§ 1
k '\,
ONTED STATES DISTRICT JUDGE

 

Aug_ust 29, 200

  
   

Da d Pritchard

This document entered on the docket Shee 'n compliance Qf
with Hule 3; and/or 32(b) FRCrP on 8 ' § ’OS

   

UNITED sTATE DISTRIC COUR - WESTERN D's'TRCT 0 TESSEE

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Honorable J on McCalla
US DISTRICT COURT

